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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


UNITED STATES OF AMERICA

         V.
                                                           CASE NO. 3:89-cr-74-J-10HTS
DOUGLASS RICHARD HEWITT
                                           /


                       ORDER REGARDING SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C § 3582(C)(2)

         Upon Motion of the Defendant pro se (Dkt # 779) under 18 U.S.C. § 3582(c)(2) for a

reduction in the term of imprisonment imposed based on a guideline sentencing range that has

subsequently been lowered and made retroactive by the United States Sentencing Commission

pursuant to 28 U.S.C. § 994(u), and having considered the United States’ Response to Order

Pursuant to 18 U.S.C. § 3582(c)(2) (Dkt #852) and Defendant Hewitt’s Response to Probation

Office’s Position Concerning Application of Crack Cocaine Amendment (Dkt #853), it is therefore

         ORDERED that the Court lacks jurisdiction to reduce the defendant’s sentence; therefore,

Defendant’s Motion is DENIED.

         DONE and ORDERED at Jacksonville, Florida this 7th day of May, 2009.




Copies to:      Federal Public Defender - Mark Rosenblum        United Stated Marshal’s Service
                United States Attorney - Devereaux              Bureau of Prisons
                United States Probation                         Defendant
